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 4
     Attorney for Defendant, ISRAEL CAVAZOS
 5
 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )               CASE NO. 1:07-CR-00192-AWI
10                               )
          Plaintiff,             )
11                               )               STIPULATION AND
        v.                       )               ORDER TO
12                               )               CONTINUE SENTENCING
     ISRAEL CAVAZOS,             )               AND RELATED DEADLINES
13                               )
           Defendant.            )
14   ____________________________)
15         The parties hereto, by and through their respective attorneys, stipulate and
16   agree that the sentencing for defendant Israel Cavazos, presently calendared for
17   May 2, 2011, be continued until May 9, 2011 at 9:00 a.m., in the courtroom of the
18   Hon. Anthony W. Ishii, United States District Court Judge.
19         The continued sentencing date would result in the following revision of
20   deadlines related to the rescheduled sentencing hearing:
21               Objections Due to Probation & AUSA:              04.18.2011
22               Objections Filed With Court and Served
                 on USPO and AUSA                                 05.02.2011
23
           The parties also agree that any delay resulting from this continuance shall
24
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(A).
25
26   DATED: April 8, 2011                /s/ Kathleen Servatius      __
                                         KATHLEEN SERVATIUS
27                                       Assistant United States Attorney
                                         This was agreed to by Kathy Servatius
28                                       in person on April 8, 2011

                                             1
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 1
     DATED: April 8, 2011              /s/ Roger K. Litman    __
 2                                     ROGER K. LITMAN
                                       Attorney for Defendant
 3                                     ISRAEL CAVAZOS
 4
 5                                      ORDER
 6
     IT IS SO ORDERED.
 7
 8   Dated:   April 11, 2011
     0m8i78                                 CHIEF UNITED STATES DISTRICT JUDGE
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